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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JAMES MICHAEL AMOR
PATRICIA ELVIRA ARMOR
213 N. Kinzer Ave.
New Holland, PA 17557                         NO. 21-5574

                Plaintiff,                    CIVIL ACTION

                   vs.                        JURY TRIAL DEMANDED

COURTNEY CONOVER
6522 Mason Cir
Randleman, NC 27317

              Defendant.




                         PRELIMINARY INJUNCTION ORDER

     AND NOW, this ____ day of ______________________, 2021, and after hearing, it is

hereby ORDERED and DECREED that:

           (a)     COURTNEY CONOVERis hereby ORDERED to immediately cease and
           desist from any and all false publication regarding the Plaintiff on the Internet
           and/or any other medium, and in particular any and all references to the Plaintiff as
           a pedophile and/or a protector of and/or aider and abettor for a pedophile and/or
           pedophiles and/or a person who retaliates and/or who has retaliated against a victim
           and/or victims of rape and/or sexual assault and/or pedophilia;

           (b)      COURTNEY CONOVER is hereby ORDERED to immediately remove
           any prior publications, regarding the Plaintiff on the Internet, including but not
           limited to those on Facebook and/or any other medium in respect of any and all
           references to the Plaintiff as a pedophile and/or a protector of and/or aider and
           abettor of a pedophile and/or pedophiles and/or a person retaliates or who has
           retaliated against a victim and/or victims of rape and/or sexual assault and/or
           pedophilia;

           (c)      COURTNEY CONOVER is hereby ORDERED to immediately cease and
           desist from publishing on the Internet any further comments, articles, posts, papers,
           commentaries, reports, explanations, stories or details regarding the Plaintiff’s
           alleged conduct in respect of pedophilia and/or protecting and/or aiding and
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                  abetting a pedophile or pedophiles and/or retaliating against a victim and/or victims
                  of rape and/or sexual assault and/or pedophilia.

                  (d)    The following additional relief is also granted:

                                                        BY THE COURT


                                                        __________________________
                                                                                J.




4889-5482-7267, v. 7
